        Case 2:17-cv-00477-AKK Document 26 Filed 04/06/18 Page 1 of 2                       FILED
                                                                                   2018 Apr-06 PM 02:39
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

Deane Franklin,                             )
                                            )
      Plaintiff,                            )
                                            )     Civil Action No.:
v.                                          )     17-cv-00477AKK
                                            )
Midland Funding, LLC; et al.,               )
                                            )
      Defendants.                           )


                          NOTICE OF SETTLEMENT
      Plaintiff Deane Franklin and Defendants Midland Funding, LLC and

Midland Credit Management, Inc. (collectively, “Midland”) notify the Court that

they intend to settle their dispute and respectfully request that the Court suspend all

deadlines and allow the Parties sixty (60) days to finalize settlement

documentation, after which Plaintiff will file a dismissal of all claims against

Midland with prejudice. After selecting a mediator and notifying the Court of their

selection—but prior to the mediation occurring—Plaintiff and Midland agreed to

settle their dispute, removing the need for the mediation to occur. Plaintiff and

Midland believe that a sixty day (60) suspension of all deadlines will be sufficient

to complete and execute all necessary settlement documentation and for Plaintiff to

file the dismissal referenced above. This notice and request is not made for the

purposes of delay or any other improper reason. Rather, this notice and extension
        Case 2:17-cv-00477-AKK Document 26 Filed 04/06/18 Page 2 of 2




will facilitate final and amicable resolution of this matter.

      Respectfully submitted, this the 6th day of April, 2018.


By permission:                                 /s/ Jonathan P. Hoffmann
/s/ John Hubbard                               Jason B. Tompkins
John C. Hubbard                                Jonathan P. Hoffmann
John C. Hubbard, LLC                           BALCH & BINGHAM LLP
PO Box 953                                     Post Office Box 306
Birmingham, Alabama 35201                      Birmingham, Alabama 35201
jch@jchubbardlaw.com                           Tel (205) 226-8757
                                               Email: jtompkins@balch.com
W. Whitney Seals                               Email: jhoffmann@balch.com
Pate & Cochrun LLP
PO Box 10448                                   Attorneys for Midland Funding, LLC
Birmingham, AL 35202                           and Midland Credit Management, Inc.
whitney@plc-law.com

Attorneys for Deane Franklin




                                           2
